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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

JOSE RODRIGUEZ, Case No. 2:19-cv-08156-RGK (SHK)

Petitioner,
ORDER ACCEPTING FINDINGS AND

V. RECOMMENDATION OF UNITED STATES
KEN CLARK, Warden, MAGISTRATE JUDGE

Respondent.

 

 

 

Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition,
Respondent’s Motion to Dismiss (“MTD”), the relevant records on file, and the
Report and Recommendation of the United States Magistrate Judge. No
objections have been filed. Court accepts the findings and recommendation of
the Magistrate Judge.

IT IS THEREFORE ORDERED that Respondent’s MTD be GRANTED, the
Petition be DENIED, and that Judgment be entered DISMISSING this action

without prejudice.

Dated: October 19, 2020 da K2
HON

ABLE R. GARY KLAUSNER
United States District Judge

 

 
